                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                  3:13-cr-00258-RJC

UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                      ORDER
                                         )
LARRY DONNELL ERBY JR.(5)                )
________________________________________ )


       THIS MATTER is before the Court on the third motion of the defendant for substitution

of counsel. (Doc. No. 211).

       The defendant’s previous motions have been denied after hearings for failure to state

sufficient grounds for new appointed counsel. (Doc. No. 84: Order; Oral Order Nov. 26, 2013).

Likewise, the Court finds no basis to remove appointed counsel upon consideration of the instant

motion. See United States v. Mullen, 32 F.3d 891, 895 (4th Cir. 1994) (stating grounds new

counsel). However, the Court will allow the defendant to raise issues relating to the appropriate

sentence in this case at his sentencing hearing October 30, 2014.

       IT IS, THEREFORE, ORDERED that the motion for substation of counsel is

DENIED.

       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, and to the United States Attorney.



                                                Signed: October 7, 2014




    Case 3:13-cr-00258-RJC-SCR            Document 216            Filed 10/07/14   Page 1 of 1
